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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF ARKANSAS
                         NORTHERN DIVISION

MARK ALAN EPLEY                                                            PLAINTIFF

v.                        CASE NO. 3:20-CV-00224-BSM

DAWN DEAN, Parole officer, Paragould                                     DEFENDANT

                                    JUDGMENT

     Consistent with the order entered today, this case is dismissed without prejudice.

     IT IS SO ORDERED this 19th day of October, 2020.


                                                 UNITED STATES DISTRICT JUDGE
